                                                                     B6A (Official Form 6A) (12/07)Case         11-42350-EPK                  Doc 17           Filed 12/26/11               Page 1 of 14
                                                                     IN RE Eckland, Ronald D                                                                                                 Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     10 26th Street, B-3, Atlanta, GA 30309                                                                                     H                             64,900.00                   91,047.00
                                                                     Mortgage in the name of Debtor
                                                                     101 Mcleod Farm Road, Cumming GA, 30040                                                                                                                 386,790.00                        0.00
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                                                                     James Pefanis is Mortgagor
                                                                     26th Properties Record title
                                                                     1740 Corsica Drive, Wellington, FL 33414                                                                                                                218,763.00               109,024.00
                                                                     1/2 Interest
                                                                     20 26th Street, D-1, Atlanta, GA 30309                                                                                                                   65,400.00                   90,343.00
                                                                     Mortgage is in Debtor's name
                                                                     2290 Winthrope Way Drive, Alpharetta, GA 30004                                                                                                          193,100.00               100,750.00
                                                                     Jim Pefanis Mortgagor
                                                                     2362 River Ridge Road, Martin, GA, 30557                                                                                                                287,875.00               256,972.00
                                                                     Debtor is Mortgagor
                                                                     BAC Loan
                                                                     28 McCleod Farm Road, Dawsonville, GA 30534                                                                                                             100,441.00                   50,220.00
                                                                     James Pefanis is Mortgagor
                                                                     26th Properties Record title
                                                                     34 NE Finch Trail, Atlanta, GA, 30308                                                                                                                    71,500.00                   98,710.00
                                                                     Debtor is Mortgagor
                                                                     foreclosed in October 2011
                                                                     4205 Fairfax Drive, Cumming GA, 30028                                                                                                                   189,700.00               151,962.00
                                                                     Debtor is Mortgagor
                                                                     5955 Matt Highway, Cumming, GA, 30028                                                                                                                   234,400.00               330,185.00
                                                                     Debtor is Mortgagor
                                                                     6835 Matt Highway, Cumming, GA, 30028                                                                                                                   683,550.00                   99,840.00
                                                                     (house and 10 acres)
                                                                     Jim Pefanis is Mortgagor
                                                                     6835 Matt Highway, Cumming, GA, 30028                                                                                                                    99,480.00                        0.00
                                                                     (4.21 acres)




                                                                                                                                                                                      TOTAL                                2,595,899.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                     B6C (Official Form 6C) (04/10)Case         11-42350-EPK                Doc 17        Filed 12/26/11             Page 2 of 14
                                                                     IN RE Eckland, Ronald D                                                                                          Case No.
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $146,450. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                        ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash                                                         Art X § 4(a)(2)                                                         10.00                     10.00
                                                                     FNBO Checking and Savings                                    Art X § 4(a)(2)                                                         40.00                     40.00
                                                                     Nebraska Energy Credit Union                                 Art X § 4(a)(2)                                                         40.00                    100.00
                                                                     2 dining room table 15 yrs, living room                      Art X § 4(a)(2)                                                       800.00                     800.00
                                                                     couch 6yrs, end table 10 years, armoire 6
                                                                     yrs, bed and fram 6 yrs, lamps 8 yrs, bar
                                                                     stools 12 yrs, 2 night stand 6 yrs, 2 patio
                                                                     table 6 yrs, 1 televesision 6 yrs, dvd player
                                                                     6 yrs, computer, full size bed 10 yrs,
                                                                     10 pictures 15 yrs old                                       Art X § 4(a)(2)                                                         10.00                     10.00
                                                                     Guardian Annuity                                             FSA § 222.21(1)                                                   13,000.00                  13,000.00
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                                                                     IRA Morgan Stanley                                           FSA § 222.21(1)                                                     3,000.00                  3,000.00
                                                                     2001 Ford F350 with 202k miles                               FSA § 222.25(1)                                                     1,000.00                  2,000.00




                                                                     * Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                     B6D (Official Form 6D) (12/07)Case          11-42350-EPK                                         Doc 17         Filed 12/26/11            Page 3 of 14
                                                                     IN RE Eckland, Ronald D                                                                                                                   Case No.
                                                                                                                                 Debtor(s)                                                                                                                                     (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                   UNLIQUIDATED
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                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                                                                                                                                                AMOUNT OF
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                  DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                             DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                        UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                   NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                      PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                               COLLATERAL




                                                                     ACCOUNT NO. 184850284                                                                                                                                                                       171,661.00
                                                                     BAC HOME LNS LP/CTRYWDE
                                                                     450 American St
                                                                     Simi Valley, CA 93065-6285

                                                                                                                                                                   VALUE $ 287,875.00

                                                                     ACCOUNT NO. 79980110                                                                                                                                                                        151,962.00
                                                                     BAC HOME LNS LP/CTRYWDE
                                                                     450 American St
                                                                     Simi Valley, CA 93065-6285

                                                                                                                                                                   VALUE $ 189,700.00

                                                                     ACCOUNT NO. 1119975602                                                                                                                                                                      330,185.00                 95,785.00
                                                                     CITIMORTGAGE
                                                                     PO Box 9438, Dept 0251
                                                                     Gaithersburg, MD 20898-9438

                                                                                                                                                                   VALUE $ 234,400.00

                                                                     ACCOUNT NO. 2005695321                                                                                                                                                                        91,047.00                26,147.00
                                                                     CITIMORTGAGE
                                                                     PO Box 9438, Dept 0251
                                                                     Gaithersburg, MD 20898-9438

                                                                                                                                                                   VALUE $ 64,900.00
                                                                                                                                                                                                                      Subtotal
                                                                            2 continuation sheets attached                                                                                                (Total of this page) $ 744,855.00 $ 121,932.00
                                                                                                                                                                                                                         Total
                                                                                                                                                                                                       (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                             (Report also on         (If applicable, report
                                                                                                                                                                                                                                                             Summary of              also on Statistical
                                                                                                                                                                                                                                                             Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                     Liabilities and Related
                                                                                                                                                                                                                                                                                     Data.)
                                                                     B6D (Official Form 6D) (12/07)Case
                                                                                                   - Cont.     11-42350-EPK                                          Doc 17         Filed 12/26/11            Page 4 of 14
                                                                     IN RE Eckland, Ronald D                                                                                                                  Case No.
                                                                                                                               Debtor(s)                                                                                                                                      (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                                                                                               AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                       UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                     PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Lien 11/17/11 on 1740 COrsica Drive,                                                           109,024.00
                                                                     Forsberg Lien Interest                                                                      Wellington, FL
                                                                     C/O Stone & Munger
                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309
                                                                                                                                                                 VALUE $ 218,763.00

                                                                     ACCOUNT NO.                                                                                 11/117/11 - Lien Interest                                                                        99,840.00
                                                                     Forsberg Lien Interest                                                                      6835 Matt Highway, Cumings, GA 30028
                                                                     C/O Stone & Munger
                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309
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                                                                                                                                                                 VALUE $ 683,550.00

                                                                     ACCOUNT NO.                                                                                 11/17/11 Lien Interest                                                                           85,311.00
                                                                     Forsberg Lien Interest                                                                      2362 River Ridge Rd
                                                                     C/O Stone & Munger                                                                          Martin, GA 30557
                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309
                                                                                                                                                                 VALUE $ 287,875.00

                                                                     ACCOUNT NO.                                                                                 11/17/11 - Lien Interest                                                                         50,220.00
                                                                     Forsberg Lien Interest                                                                      28 McCleod Farm Rd
                                                                     C/O Stone & Munger                                                                          Dawsonville, GA 30534
                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309
                                                                                                                                                                 VALUE $ 100,441.00

                                                                     ACCOUNT NO.                                                                                 11/17/11 Lien Interest                                                                         100,750.00
                                                                     Forsberg Lien Interest                                                                      2290 Wintrhope Way Drive
                                                                     C/O Stone & Munger                                                                          Alpharetta, GA 30004
                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309
                                                                                                                                                                 VALUE $ 193,100.00

                                                                     ACCOUNT NO. 0209106889                                                                                                                                                                       90,343.00                24,943.00
                                                                     Wells Fargo Home Mortgage
                                                                     PO Box 10335
                                                                     Des Moines, IA 50306-0335

                                                                                                                                                                 VALUE $ 65,400.00
                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                        (Total of this page) $ 535,488.00 $                                               24,943.00
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                            (Report also on         (If applicable, report
                                                                                                                                                                                                                                                            Summary of              also on Statistical
                                                                                                                                                                                                                                                            Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                                                    Data.)
                                                                     B6D (Official Form 6D) (12/07)Case
                                                                                                   - Cont.     11-42350-EPK                                         Doc 17         Filed 12/26/11            Page 5 of 14
                                                                     IN RE Eckland, Ronald D                                                                                                                 Case No.
                                                                                                                               Debtor(s)                                                                                                                                    (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                                                                                                                                             AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                               DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                           DATE CLAIM WAS INCURRED,                                                       CLAIM WITHOUT
                                                                                                                                                                                                                                                                                     UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                 NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                              DEDUCTING
                                                                                                                                                                                                                                                                                   PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                             PROPERTY SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                            COLLATERAL




                                                                     ACCOUNT NO. 0207310517                                                                                                                                                                     98,710.00                27,210.00
                                                                     Wells Fargo Home Mortgage
                                                                     PO Box 10335
                                                                     Des Moines, IA 50306-0335

                                                                                                                                                                 VALUE $ 71,500.00

                                                                     ACCOUNT NO.
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                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                     Sheet no.       2 of        2 continuation sheets attached to                                                                                  Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                       (Total of this page) $                                  98,710.00 $              27,210.00
                                                                                                                                                                                                                       Total
                                                                                                                                                                                                     (Use only on last page) $ 1,379,053.00 $ 174,085.00
                                                                                                                                                                                                                                                          (Report also on         (If applicable, report
                                                                                                                                                                                                                                                          Summary of              also on Statistical
                                                                                                                                                                                                                                                          Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                                                                                                                                  Data.)
                                                                     B6 Declaration (Official Form 6Case     11-42350-EPK
                                                                                                     - Declaration) (12/07)                  Doc 17          Filed 12/26/11             Page 6 of 14
                                                                     IN RE Eckland, Ronald D                                                                                             Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      21 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: December 23, 2011                              Signature: /s/ Ronald D Eckland
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Ronald D Eckland

                                                                     Date:                                                Signature:
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                              Case
                                                                     B6 Summary (Form 6 - Summary)      11-42350-EPK
                                                                                                   (12/07)                                   Doc 17          Filed 12/26/11               Page 7 of 14
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                   Southern District of Florida

                                                                     IN RE:                                                                                                                Case No.
                                                                     Eckland, Ronald D                                                                                                     Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $       2,595,899.00



                                                                      B - Personal Property                                           Yes                          3 $           19,060.00



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          3                           $      1,379,053.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                           $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          5                           $      1,039,897.04
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          1                                                     $           5,081.42
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          2                                                     $           4,964.55
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      19 $        2,614,959.00 $           2,418,950.04
                                                                                                   Case
                                                                     Form 6 - Statistical Summary (12/07)   11-42350-EPK      Doc 17     Filed 12/26/11           Page 8 of 14
                                                                                                                       United States Bankruptcy Court
                                                                                                                        Southern District of Florida

                                                                     IN RE:                                                                                       Case No.
                                                                     Eckland, Ronald D                                                                            Chapter 7
                                                                                                                Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                       Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $         0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $         0.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $         0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $         0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $         0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $         0.00

                                                                                                                                                           TOTAL        $         0.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $     5,081.42

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $     4,964.55

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $     4,615.38


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                       $   174,085.00

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $         0.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                         $          0.00

                                                                      4. Total from Schedule F                                                                                           $ 1,039,897.04

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       $ 1,213,982.04
                                                                     B7 (Official Form 7) (04/10)   Case 11-42350-EPK                   Doc 17         Filed 12/26/11            Page 9 of 14
                                                                                                                              United States Bankruptcy Court
                                                                                                                               Southern District of Florida

                                                                     IN RE:                                                                                                       Case No.
                                                                     Eckland, Ronald D                                                                                            Chapter 7
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                     or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 31,699.09 Bridgewater Title, LLC YTD 2010
                                                                                  7,987.00 2009 W2 Income

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 65,000.00 2009 LendX Financial, LLC

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                   Case 11-42350-EPK                   Doc 17         Filed 12/26/11            Page 10 of 14
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $5,850.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                      ü      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE
                                                                     BENEFIT PROPERTY WAS SEIZED                                      DATE OF SEIZURE                     OF PROPERTY
                                                                     Fornsberg Lien Interest                                          11/17/11                            Properties located at 1740 Corsica Drive -
                                                                     C/O Stone & Munger                                                                                   50%
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                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309
                                                                     Fornsberg Lien Interest                                          11/17/11                            Property lcoated at 20 Matt Highway - 100%
                                                                     C/O Stone & Munger                                                                                   Value 99,840
                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309
                                                                     Fornsberg Lien Interest                                          11/17/11                            2362 River Ridge Rd 50%- Value $344,800
                                                                     C/O Stone & Munger
                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309
                                                                     Fornsberg Lien Interest                                          11/17/11                            28 Mcleod Farm Rd 50% - Value $100, 441
                                                                     C/O Stone & Munger
                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309
                                                                     Fornsberg Lien Interest                                          11/17/11                            2290 Wintrhope Way 50% - Value 201,700
                                                                     C/O Stone & Munger
                                                                     999 Peachtree Street NE, Suite #2850
                                                                     Atlanta, GA 30309

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                                                                      DATE OF REPOSSESSION,
                                                                                                                                      FORECLOSURE SALE,                   DESCRIPTION AND VALUE
                                                                     NAME AND ADDRESS OF CREDITOR OR SELLER                           TRANSFER OR RETURN                  OF PROPERTY
                                                                     HSBC Bank                                                        8/2010                              rental property
                                                                     PO Box 5222
                                                                     Carol Stream, IL 60197
                                                                     Wells Fargo Bank                                                                                     34 Finch Trail
                                                                     PO Box 31557                                                                                         Atlanta, GA 30308
                                                                     Billings, MT 59107
                                                                                                   Case 11-42350-EPK                    Doc 17         Filed 12/26/11             Page 11 of 14
                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
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                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     DebtHelper.Com                                                    8/2010                                                                  35.00
                                                                     4611 Okeechobee Boulevard. #114
                                                                     West Palm Beach, FL 33417
                                                                     Carey Law Group                                                                                                                                       2,500.00
                                                                     801 Northpoint Parkway, Ste 7
                                                                     West Palm Beach, FL 33407

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                      ü      device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                   Case 11-42350-EPK                   Doc 17         Filed 12/26/11            Page 12 of 14
                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.
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                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                      ü      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                     5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                     in a trade, profession, or other activity, either full- or part-time.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)
                                                                                                   Case 11-42350-EPK                    Doc 17         Filed 12/26/11             Page 13 of 14
                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                      ü      keeping of books of account and records of the debtor.

                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                      ü      and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                      ü      debtor. If any of the books of account and records are not available, explain.

                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued
                                                                      ü      within the two years immediately preceding the commencement of the case by the debtor.

                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                      ü      dollar amount and basis of each inventory.

                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
                                                                      ü
                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
                                                                      ü
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                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                      ü      or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                      ü      of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                      ü      preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                      ü      bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                      ü      purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.

                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                      ü      has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
                                                                                               Case 11-42350-EPK               Doc 17         Filed 12/26/11        Page 14 of 14

                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: December 23, 2011                    Signature /s/ Ronald D Eckland
                                                                                                                of Debtor                                                                    Ronald D Eckland

                                                                     Date:                                      Signature
                                                                                                                of Joint Debtor
                                                                                                                (if any)

                                                                                                                                  0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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